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2
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5       189 S. Orange Avenue, Suite 810
        Orlando, FL 32801
6
                                 UNITED STATES DISTRICT COURT
7
                                  MIDDLE DISTRICT OF FLORIDA
8
                                       ORLANDO DIVISION
9                                                §
        UNITED STATES OF AMERICA, EX             §
10      REL., BARBARA BERNIER,                   §
                                                 §   Case No.: 6:16-cv-00970-RBD-TBS
11
                    Plaintiff,                   §
                                                 §   MEMORANDUM OF LAW IN
12
              vs.                                §   OPPOSITION TO DEFENDANTS’
13                                               §   OBJECTIONS TO ORDER DENYING
        INFILAW CORPORATION;                     §   DISCOVERY STAY
14      CHARLOTTE SCHOOL OF LAW, LLC,            §
                                                 §
15                  Defendants.                  §
                                                 §
16                                               §
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         MEMORANDUM OF LAW IN OPPOSITION TO                             WATSON LLP
         DEFENDANTS’ OBJECTIONS TO ORDER                           189 S. Orange Avenue, Suite 810
                                                                          Orlando, FL 32801
         DENYING DISCOVERY STAY - 1                           Tel: (407) 377-6634 / Fax: (407) 377-6688
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2
               Relator, BARBARA BERNIER, pursuant to Fed. R. Civ. P. 72(b)(2), M.D. Fla.

3       R. 3.01(b) and 6.02(a), files this memorandum of law in opposition to the objection to

4       order denying discovery stay, Doc. 62, served by Defendants, INFILAW

5       CORPORATION (“Infilaw”) and CHARLOTTE SCHOOL OF LAW (“CSOL”), and

6       states as follows:
7       I.     INTRODUCTION
8
               Defendants’ papers read as if they only now acknowledge that Bernier brought
9
        this case under the federal False Claims Act (the “FCA”), 31 U.S.C. § 3729, et seq. This
10
        was a FCA case when Bernier served Defendants with the complaint. This was a FCA
11
        case when Defendants jointly agreed to the mutual discovery procedures set forth in the
12
        case management report. This was a FCA case when Defendants responded to Bernier’s
13
        initial document requests. This was a FCA case when Defendants agreed to produce
14
        certain documents in response to the initial document requests. This was a FCA case
15

16      when Defendants provided their desired confidentiality agreement to protect disclosure of

17      sensitive documents, which the undersigned executed. And this is still a FCA case today.

18             There is nothing whatsoever in the magistrate court’s report and recommendation

19      that should leave the district court with the definite and firm conviction that the court
20      made a mistake in denying the discovery stay. Simply put, Defendants are unhappy with
21
        the magistrate court’s ruling and are effectively using the objection as a supplemental
22
        brief to their pending 45-page motion to dismiss, despite already receiving the benefit of
23
        leave to file a 5-page, heavily footnoted, reply memorandum which, frankly, exceeded
24
        the boundaries set by the court. See Docs. 57–59.
25



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                 Now, through pages and pages of unpersuasive argument, Defendants invite this

3       court to sustain their objection and enter a discovery stay until resolution of the pending

4       motion to dismiss. Not only does Defendants’ objection do nothing more than recast the

5       same arguments found in their initial briefing on the motion to dismiss (i.e., that Bernier

6       allegedly lacks “direct personal knowledge”), 1 the objection also relies heavily on two
7       cases Atkins and Clausen that are by no means analogous with this litigation.
8
                 Compounding matters further, this court’s order denying the discovery stay
9
        conducted the exact analysis that Defendants now complain is absent from the order.
10
        Indeed, the magistrate court did take a preliminary peek at the merits of the motion to
11
        dismiss to see if it appeared to be clearly meritorious and dispositive. See Doc. 62 at 7.
12
        In fact, Magistrate Judge Smith conducted this analysis and rejected Defendants’
13
        position, stating that the court has “. . . reviewed Plaintiff’s amended complaint, the
14
        motion to dismiss, the response to the motion, and Defendants’ reply” before making the
15

16      determination that a discovery stay is not warranted. Id. In short, Defendants have failed

17      to demonstrate a clear error, much less any error, to warrant the district court sustaining

18      the instant objection. The objection, then, is due to be overruled and the district court

19      should adopt the report and recommendation in its entirety.
20

21

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        1
          Without rehashing the arguments contained in the memorandum of law in opposition to
24      the pending motion to dismiss, it should be noted that the test for knowledge under the
        FCA is not nearly as limited as Defendants’ suggest. See Doc. 56 at 11–17 (discussing
25
        the test for “knowledge” under the FCA).


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        II.    BACKGROUND

3              A.      Procedural Posture.

4              On June 6, 2016, Bernier filed the instant qui tam action which alleges that

5       Defendants were collectively involved in a scheme to defraud the federal government out

6       of hundreds of millions of dollars through substantial misrepresentations made in
7       connection with the nature of their academic programs in order to obtain Title IV federal
8
        student financial aid funding. See generally Doc. 1. On November 10, 2017, Bernier
9
        filed an amended complaint, which is the operative complaint before this court. Doc. 48.
10
        As detailed in the amended complaint, Defendants’ scheme was predicated on the
11
        submission of false claims to the Department of Education (“DOE”), which they
12
        achieved by falsely, and impliedly, representing that they were in compliance with Title
13
        IV and its implementing regulations, as well as a Program Participation Agreement
14
        (“PPA”) between the DOE and CSOL, and re-certifications of same. Id.
15

16             Defendants moved to dismiss on December 4, 2017. Doc. 53. On December 22,

17      2017, Bernier responded in opposition. Doc. 56. On January 9, 2018, Defendants filed a

18      reply, with leave of court, in support of their motion to dismiss. Doc. 59. On January 19,

19      2018, Defendants filed a motion to stay discovery based on the pendency of their motion
20      to dismiss. Doc. 60. On February 14, 2018, this court denied the motion. Doc. 62. In
21
        response, Defendants appealed the denial to the district court. Docs. 64, 65.
22
               B.      Case Management And Discovery Efforts To Date.
23
               This case began as most do—with an eye towards the Rule 26(f) conference and
24
        discussions between counsel as to various case management deadlines. The parties freely
25



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        negotiated, jointly signed, and filed the case management report on October 10, 2017.

3       See Doc. 36. Significantly, in the case management report, precisely in the location

4       where Defendants could, and should, have raised any potential discovery stay issues, the

5       parties agreed as follows:

6                      g.     Other Matters Regarding Discovery
7                      A party withholding documents based on one or more claims
                       of privilege will produce a privilege log. There will be no
8
                       obligation to produce privilege logs identifying attorney-client
9
                       communications and work product documents created
                       following the commencement of this lawsuit, including the
10                     efforts to locate and collect documents and ESI in response to a
                       discovery request in this matter. The parties may also omit
11                     from their privilege logs all protected communications
                       occurring solely between a party or its employees and their
12                     respective in-house or outside counsel. Failure to produce a
                       privilege log prior to or contemporaneously with a particular
13                     production is not a waiver of any applicable privilege. Rather,
                       the producing party need only produce its privilege logs within
14
                       a reasonable time of completing their production, unless the
                       presiding judge in this action has specific procedures
15
                       governing the timeliness of privilege logs.
16
        Doc. 36 at 11. On October 16, 2017, after the parties filed the case management report,
17
        the undersigned issued four non-party document subpoenas. In response to those
18
        subpoenas, curiously, Defendants’ counsel—who does not represent the non-parties—
19
        requested a stay of non-party discovery until the parties engaged in discovery. The
20
        undersigned declined because Defendants were unable to produce any authority for the
21

22
        request.

23             On November 17, 2017, the undersigned served a first request for production, to

24      which Defendants responded on December 18, 2017. Not only did Defendants not raise a

25      discovery stay anywhere in those responses, Defendants actually agreed to produce


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        documents in response to numerous requests therein. 2 In fact, Defendants did not raise

3       the issue of a discovery stay between the parties until January 17, 2018, some three

4       months after the parties negotiated the case management report. The fact that Defendants

5       began to engage in discovery in this case with Bernier, then reversed course, is a telling

6       indictment of the allegation that, now, there is somehow prejudice or undue burden from
7       the same discovery requests served in November 2017.
8
        III.     LEGAL STANDARD
9
                 When a party objects to a magistrate judge’s findings, the district court must
10
        “make a de novo determination of those portions of the report . . . to which objection is
11
        made.” 28 U.S.C. § 636(b)(1); see also Fed. R. Civ. P. 72(a). The district court “may
12
        accept, reject, or modify, in whole or in part, the findings or recommendations made by
13
        the magistrate judge.” Id. The district court must consider the record and factual issues
14
        independent of the magistrate judge’s report. Wiley v. Comm’r of Soc. Sec., No. 6:14-cv-
15

16      1276-ORL, 2015 WL 5521907, at *1 (M.D. Fla. Sept. 15, 2015) (citing Ernest S. ex rel.

17      Jeffrey S. v. State Bd. of Educ., 896 F.2d 507, 513 (11th Cir. 1990)).

18               “Normally, the pendency of a motion to dismiss or a motion for summary

19      judgment will not justify a unilateral motion to stay discovery pending resolution of the
20

21

22

        2
23        In addition, in the case management report, Defendants agreed to “begin production of
        non-privileged documents in response to discovery requests within thirty (30) to forty-
24      five (45) days of serving responses and objections to discovery requests.” Doc. 36 at 9.
        Despite this agreement, Defendants have not produced a single document in response to
25
        any request, even those where they agreed to do so. A motion to compel is forthcoming.


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        dispositive motion. Such motions for stay are rarely granted. However, unusual

3       circumstances may justify a stay of discovery in a particular case upon a specific showing

4       of prejudice or undue burden.” Middle District Discovery (2015) at 5–6 (emphasis

5       added).

6       IV.       ARGUMENTS AND AUTHORITIES
7                 The court correctly concluded that a balance of factors weighs against the entry of
8
        discovery stay for several reasons. First, Bernier has stated a viable claim under the FCA
9
        with particularity, based on her knowledge of Defendants’ fraudulent schemes even
10
        without the benefit of discovery. Second, Magistrate Judge Smith took a preliminary
11
        peek at Defendants’ fully briefed motion to dismiss and found that it was unclear whether
12
        such motion is truly case dispositive. Doc. 62 at 7. Third, Defendants’ reliance on
13
        Chudasama is misplaced because that case would govern a fact pattern that is effectively
14
        the opposite of this case because there, a stay was appropriate by virtue of the district
15

16      court not ruling on a motion to dismiss for over a year and half while discovery was

17      proceeding.

18                Equally important, Defendants have failed to show how they are in any way

19      prejudiced by proceeding with discovery; and, at the same token, admit that they intend
20      to propound discovery to Bernier during the pendency of resolution of the instant appeal.
21
        See Doc. 64 at 3. Defendants cannot have it both ways: discovery is not a carefully
22
        orchestrated dance where litigants pick and choose when they will, and will not, comply
23
        with the discovery rules and case management and scheduling order.
24

25



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2
                A. Bernier Stated A Viable FCA Claim Based On Knowledge With
                   Particularity Under Rule 9(b) Without The Need Of Discovery.
3
                As Magistrate Judge Smith concluded, Bernier “has already identified, without
4
        the benefit of discovery, specific [false] claims [made] against Defendants.” Doc. 62 at
5
        7. The order specifically indicates that Bernier has identified the following claims
6
        without the need of discovery:
7
                “Plaintiff, a former professor at CSL, alleges that after entering into the
8
                PPA, CSL internationally and recklessly admitted academically
9
                underqualified students, and retained students who should have been
                dismissed for lack of satisfactory progress (Id., ¶¶ 2, 17.) She asserts that
10              CSL failed to maintain accreditation standards set by the ABA; engaged in
                practices that violated Title IV’s ban on incentive compensation; awarded
11              gift aid to students; and deliberately failed to deduct the amount of the gift
                aid from the financial aid CSL received from the DOE (Id., ¶¶ 5, 19, 20,
12              23, 35–38). Plaintiff alleged that the Dean of CSL manipulated its grading
                structure so that he students appeared to be making satisfactory academic
13              progress and could submit financial aid claims to the government for
                payment; and that CSL deleted students’ grades so that they could “start
14
                over” and borrow more federal student aid money from the government.
                (Id., ¶¶ 23, 25). Plaintiff also contends that CSL manipulated its students'
15
                bar exam passage rates and employment statistics (Id., ¶ 28). She claims
16              that when CSL received student aid from the DOE, Infilaw used the
                money for its own purposes, and then returned it just-in-time for
17              mandatory distributions to students.” (Id. ¶ 14).

18      Id. at 1–2.

19              Bernier became aware of Defendants’ fraudulent schemes because Defendants
20      discussed them during faculty meetings where she was physically present. See generally
21
        Doc. 48. CSOL also required Bernier to engage in various recruitment practices, which,
22
        in turn, affected her involvement with CSOL’s financial practices that all occurred during
23
        the course of her employment at CSOL. See id. Thus, Bernier is not searching for truth
24
        or engaging in a so-called “fishing expedition” by engaging in discovery because she was
25



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        either (i) physically present when Defendants engaged in behavior such as critically

3       lowering the minimum student grade point average, which had a direct correlation on the

4       amount of federal student aid CSOL could receive from the DOE, Doc. 48 at 23, and (ii)

5       has knowledge of false claims arising from her interactions with CSOL’s financial aid

6       and admission’s departments staff, who were on the frontlines of receiving financial aid
7       from the DOE and essentially admitting as many students as possible into CSOL, which,
8
        again, had a direct correlation on the amount of federal student aid CSOL could receive
9
        from the DOE, id. at 14.
10
                 What is more, Defendants mistakenly rely on factually distinguishable cases to
11
        support the proposition that a discovery stay is warranted because the court has not yet
12
        determined whether Bernier has asserted a viable FCA claim. 3 See U.S. ex. rel. Atkins v.
13
        McInteer, 470 F. 3d. 1350, 1359 (11th Cir. 2006) (affirming dismissal because relator’s
14
        FCA claims were based on allegations of “rumors from staff” and “obser[vations] of
15

16      behavior” that did not sufficiently meet the pleading requirements); U.S. ex. rel. Clausen

17

18

19
        3
20
          Contrary to Defendants’ argument, Doc. 64 at 3, n.4, the district court has discretion to
        consider Bernier’s arguments concerning the cases of Atkins and Clausen, which were
21      not previously presented in her opposition to the motion to stay discovery. See Capstone
        Bldg. Corp. v. Am. Motorist Ins. Co., Inc., No. 2:08-CV-00513-RDP, 2011 WL
22      13228276, at *1 (N.D. Ala. May 27, 2011) (citing Williams v. McNeil, 557 F.3d 1287,
        1292 (11th Cir. 2009)) (recognizing that on appeal of a report and recommendation, the
23      district court has discretion to consider any arguments not made to the magistrate court).
        Defendants’ cite Williams as allegedly precluding the district court from considering
24      Bernier’s arguments. See Doc. 64 at 3, n.4. But as the Capstone Bldg. court explained,
        the defendant in that case misunderstood the Williams holding. Capstone Bldg. Corp.,
25
        2011 WL 13228276 at *1. So too, do Defendants in this case.


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         v. Lab. Corp. of Am., 290 F.3d. 1301, 1307, 1314 & n.24 (11th Cir. 2002) (affirming

3        dismissal of relator’s amended complaint and holding that corporate outsider failed to

4        allege with specificity the false claims pursuant to Fed. R. Civ. P. 9(b)).

5                 The Clausen relator worked for a competitor of the company that allegedly

6        violated the FCA. See Clausen, 290 F.3d at 1314. The Eleventh Circuit’s analysis
7        included the observation that “[m]ost relators in qui tam actions are insiders.” Id. The
8
         Clausen relator, unlike Bernier, was an outsider. Going further, the Clausen relator also
9
         did not, and could not, allege that the suspected fraudulent schemes at issue were ever
10
         actually brought to fruition. Id. at 1312. Indeed, the Clausen court stated that “[n]o
11
         policies about billing or even second-hand information about billing practices were
12
         described” in the FCA complaint. Id. (emphasis added). The Clausen fact pattern is
13
         diametrically opposed to the facts here. Bernier was undeniably employed as a CSOL
14
         professor 4 for nearly three years and, while being so, worked with CSOL’s financial aid
15

16       department where false claims were transmitted to the DOE by reason of student

17       certifications for federal financial aid. See generally Doc. 48.

18                Atkins followed Clausen and it, too, involved a corporate outsider as opposed to

19       an insider like Bernier. See Atkins, 470 F.3d at 1354. In Atkins, the relator was a
20       psychiatrist with a tangential relationship to the defendant who allegedly violated the
21

22

23

24       4
           Unlike most law schools, CSOL required its law professors to “directly engage in
         almost all CSOL departments, including, but not limited to, CSOL’s Financial Aid
25
         Departments.” Doc. 48 at 2.


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         FCA. See id. The FCA complaint alleged that two other psychiatrists and their

3        associated business improperly sought reimbursement for services from Medicare and

4        Medicaid. Id. The Atkins relator’s allegations were based on “rumors from staff”

5        employed by the defendant-business and generally what “he believed.” Id. at 1359–1360.

6        Ultimately, the court upheld dismissal of the FCA complaint because Rule 9(b)’s
7        particularity requirement was not satisfied and found it a “nullity if Plaintiff gets a ticket
8
         to the discovery process without identifying a single claim.” Id. Again, by contrast,
9
         Bernier, has first-hand personal knowledge of Defendants’ schemes to defraud the federal
10
         government. As a CSOL professor and corporate insider, she was exposed to, or made
11
         aware by fellow employees in departments (e.g., financial aid and admissions), with
12
         whom she regularly interacted. See Doc. 48 at 118–121.
13
                The other cases cited by Defendants for the proposition that courts routinely stay
14
         discovery in FCA cases pursuant to Atkins and Clausen until the pleadings survived
15

16       dismissal fares no better. See, e.g., U.S. ex rel. Mastej v. Health Mgmt. Assocs., Inc., 591

17       F. App’x 693 (11th Cir. 2014) (finding that any “indicia of reliability” as to submission

18       of false claims after relator’s departure disappeared when he left employment); U.S. ex.

19       rel. Fla. Soc’y. of Anesthesiologists v. Choudry, 2016 WL 7205970, at *3 (M.D. Fla. Oct.
20       11, 2016) (granting discovery stay until relator amended the complaint to correct multiple
21
         deficiencies); U.S. ex. rel. Johnson v. E-Med Source of Fla., Inc., 2015 WL 6742059, at
22
         *4 (M.D. Fla. Nov. 3, 2015) (granting unopposed request to stay discovery); U.S. ex. rel.
23
         Bumbury v. Med-Care Diabetic & Med. Supplies, Inc., 2014 WL 12284078, at *1 (S.D.
24
         Fla. June 17, 2014) (granting discovery stay because it was possible that relator, a three-
25



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         month employee of defendant, was not in a position to allege personal knowledge of the

3        underlying false claims with particularity under Rule 9(b)).

4               A more authoritative case on this issue is the case of Hill v. Morehouse Medical

5        Associates, Inc., Case No. 02–14429, 2003 WL 22019936 *4 (11th Cir. Aug. 15, 2003).

6        In Hill, the Eleventh Circuit held that a former billing and coding employee of a medical
7        care provider satisfied Rule 9(b) where her complaint claimed that she had knowledge of
8
         fraud because she worked in the very department where the fraudulent billing schemes
9
         occurred. Id.; cf. Clausen, 290 F.3d. at 1341 (recognizing that “an insider might have an
10
         easier time obtaining information about billing practices” and meeting the pleading
11
         requirement under the FCA). Ultimately, the Hill court held that the relator’s complaint
12
         met the particularity requirements of 9(b). See Hill, 2003 WL 22019936 at *5; see also
13
         U.S. ex rel. Walker v. R & F Properties of Lake County, Inc., 433 F.3d 1349, 1360 (11th
14
         Cir. 2005) (holding that Rule 9(b) was satisfied where relator was nurse practitioner in
15

16       the defendant’s employ whose conversations about the defendant’s billing practices with

17       the defendant's office manager formed the basis for the relator’s belief that claims were

18       actually submitted to the government).

19              B. The Magistrate Court Correctly Determined That A Preliminary Peek At
                   The Merits Of Defendants’ Motion To Dismiss Revealed That A
20                 Discovery Stay Is Improper.
21
                In deciding whether to stay discovery pending resolution of pending motion, a
22
         court inevitably must balance harm produced by delay in discovery against possibility
23
         that motion will be granted and entirely eliminate need for such discovery. See Fed. R.
24
         Civ. P. 26(c); see also McCabe v. Foley, 233 F.R.D. 683 (M.D. Fla. 2006). Here,
25



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         Magistrate Judge Smith reviewed Defendants’ pending motion to dismiss and found that

3        it was not truly case dispositive. Doc. 62 at 7. Specifically, the order states that “[t]he

4        Court reviewed Plaintiff’s amended complaint, the motion to dismiss, the response to the

5        motion, and Defendants’ reply” and found that it is “not persuaded that at this early stage

6        in the litigation that there is an ‘immediate and clear possibility that’ the motion to
7        dismiss will be granted, or that if it is granted, that Plaintiff will not be given leave to
8
         further amend the complaint.” Id. Accordingly, Magistrate Judge Smith found that
9
         “[t]hese factors weight against a stay.” Id.
10
                 In a mere footnote, Defendants contend that the possibility that Bernier may be
11
         given leave to amend does not weigh against a stay here because Bernier has already
12
         amended once, and courts typically stay discovery in FCA cases until amendment is
13
         complete. Doc. 64 at 10. This bears no weight in favor of a stay. In reviewing
14
         Defendants’ dispositive motion, Magistrate Judge Smith effectively determined that an
15

16       amendment to Bernier’s complaint would not prove to be futile. See United States v.

17       Holy Cross Hosp., Inc., No. 03-62097-CIV, 2006 WL 8432157, at *10 (S.D. Fla. Oct. 18,

18       2006) (granting relator’s leave to amend false claims complaint, recognizing that Federal

19       Rule of Civil Procedure 15(a) provides that leave to amend the complaint shall be freely
20       given as “justice so requires”). Thus, the fact that Bernier has amended her claims once
21
         as of right should not be considered in favor of a discovery stay.
22
                 It should also be noted that Magistrate Judge Smith is no stranger in deciding
23
         discovery stays in FCA suits. See, e.g., United States v. Space Coast Med. Assocs.,
24
         L.L.P., No. 6:13-cv-1068ORL22TBS, 2014 WL 12616951 (M.D. Fla. Dec. 3, 2014)
25



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         (Smith, J.) (denying discovery stay pending resolution of motion to dismiss after taking a

3        preliminary peek at defendant’s dispositive motion). In Space Coast, the relator filed a

4        second amended complaint alleging that the defendants violated the federal and Florida

5        False Claims Act. Id. at *1. The defendants moved to dismiss the complaint on the

6        grounds that it failed to plead plausible and particular claims upon which relief could be
7        granted. Id. Defendants also moved to stay discovery pending resolution of its
8
         dispositive motion. Id. Although the plaintiff unopposed the discovery stay, Magistrate
9
         Judge Smith denied the stay after taking a preliminary peek at the merits of the
10
         complaint, motion to dismiss, and response to same. Id. And in Space Coast, as here,
11
         Magistrate Judge Smith concluded that it was unclear whether defendants’ dispositive
12
         motion was truly case dispositive. Id. Thus, the district court should overrule
13
         Defendants’ objections to the report and recommendation and affirm the denial of the
14
         discovery stay.
15

16              C. None Of The Facts In This Case Are Analogous To Chudasama.

17              Defendants are attempting to direct this court on a path into the abyss by relying

18       on Chudasama to stay discovery in this matter. See Chudasama v. Mazda Motor Corp.,

19       123 F.3d. 1353, 1366-67 (11th Cir. 1997). There, the district court unduly delayed
20       deciding a motion to dismiss, which was fully briefed, for over a year and a half, which
21
         led to the Eleventh Circuit’s conclusion that a stay was appropriate while the dispositive
22
         motion was pending. Id. at 1368. The Chudasama court’s “primary concern . . . was
23
         with the district court’s delay and prolonging of the parties’ discovery and costs
24
         unnecessarily.” Gannon v. Flood, No. 08-60059-CIV, 2008 WL 793682, at *1 (S.D. Fla.
25



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         Mar. 24, 2008). Surely Defendants do not suggest that discovery in this case has

3        unnecessarily caused them prolonged costs because they have failed to date to produce

4        even a single paper in response to Bernier’s discovery requests.

5               Clearly, the Chudasama case is factually distinguishable from the case at bar

6        because Defendant’s motion to dismiss did not become ripe until January 9, 2018. See
7        Doc. 59. This court has not delayed in adjudicating the motion to dismiss (for over a year
8
         and a half) and, thus, has not unnecessarily prolonged any discovery. Discovery has only
9
         just begun, with the first discovery requests served on Defendants in November 2017 and
10
         responded to in December 2017. Defendants have not even moved for a protective order
11
         as to any of the discovery requests served by Bernier to date. The discovery cutoff in this
12
         case is March 22, 2019. See Doc. 43 at 3. Therefore, the instant action is certainly not
13
         comparable to Chudasama, and a discovery stay is not warranted.
14
                D. Defendants Have Failed To Show How They Are In Any Way Prejudiced
15
                   By Proceeding With Effective Discovery Practice.
16
                The local discovery practices of this court are clear: “[n]ormally, the pendency of
17
         a motion to dismiss . . . will not justify a unilateral motion to stay discovery pending
18
         resolution of the dispositive motion. Such motions for stay are rarely granted.” Middle
19
         District Discovery (2015) at 5–6. And when such motions are granted, the movant must
20
         show prejudice or undue burden. See id. Defendants have failed to meet their heavy
21

22
         burden of establishing the requisite grounds for a discovery stay because they have not

23       pointed out a specific reason why the production of documents to relator’s requests are

24       unfairly prejudicial or unduly burdensome. See Feldman v. Flood, 176 F.R.D. 651, 652

25       (M.D. Fla. 1997) (“Such motions are generally not favored because when discovery is


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         delayed or prolonged it can create case management problems which impede the Court’s

3        responsibility to expedite discovery and cause unnecessary litigation expenses and

4        problems.”).

5               To be sure, Defendants simply point to the anticipated burden “to search for,

6        collect, store, process, and review years of data on dozens of topics from a large number
7        of custodians, and perhaps tens or hundreds of thousands of documents.” See Doc. 60 at
8
         11 (emphasis added). These are conclusory, self-interested statements that carry
9
         negligible, if any, weight. Defendants have not bothered to put forth the effort of
10
         evincing any prejudice or undue burden by supporting the allegations with an affidavit,
11
         which is necessary to establish undue burden. See, e.g., Zamperla, Inc. v. I.E. Park SrL,
12
         6:13-cv-1807ORL37KRS, 2014 WL 12614505, at *2 (M.D. Fla. Nov. 3, 2014) (“When
13
         the discovery requests seek relevant information, the responding party has the burden of
14
         showing that the discovery is improper, unreasonable, or burdensome. The responding
15

16       party must show specifically how the requested discovery is burdensome, overbroad, or

17       oppressive by submitting detailed affidavits or other evidence establishing

18       the undue burden.”) (internal quotations and external citation omitted). In the absence of

19       supporting evidence, Defendants’ actions, then, can only be interpreted as a dilatory
20       tactic meant to prevent Bernier from proceeding forward with the instant lawsuit.
21
                The sister district courts of this jurisdiction have made clear that speculation
22
         regarding the potential burdensome of future discovery requests is insufficient as a matter
23
         of law. See Gannon v. Flood, No. 08-60059-CIV, 2008 WL 793682, at *1 (S.D. Fla.
24
         Mar. 24, 2008) (holding that no broad rule exists that discovery should be deferred
25



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         whenever there is a pending motion to dismiss); Bocciolone v. Solowsky, No. 08-20200-

3        CIV, 2008 WL 2906719, at *2 (S.D. Fla. July 24, 2008) (denying a motion to stay

4        pending resolution of motion to dismiss and requiring a “specific showing of prejudice or

5        burdensomeness”).

6               Ironically, and conspicuously absent from Defendants’ papers, is the fact that
7        CSOL is currently actively involved in other federal litigation, a class action by a group
8
         of former students raising similar allegations against the Defendants that is currently
9
         pending before the United States District Court for the Western District of North
10
         Carolina. See Spencer Krebs, et. al. v. Charlotte School of Law, LLC, No. 3:17-cv-
11
         00190-GCM, Doc. 120, (W.D.N.C. Dec. 18, 2017). Thus, Defendants may already have
12
         the documents responsive to at least some of Bernier’s discovery requests preserved,
13
         collected, culled, and ready for production.
14
         V.     CONCLUSION
15

16              This Court should not hesitate to overrule Defendants’ objections the denial of the

17       discovery stay because the balance of factors weighs against such a ruling. Defendants

18       should not be allowed to “have one foot in and one foot out” of discovery and hide

19       behind spurious claims that Bernier has not properly pled factual allegations under Rule
20       9(b). To prohibit Bernier from obtaining discovery from Defendants, or from any third
21
         party, would, in fact, cause case management issues for the court’s busy docket.
22
         Defendants have done no more in the appeal than to introduce sheer hyperbole into the
23
         record in an effort to establish prejudice and undue burden and have not provided this
24

25



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         court with any evidence whatsoever to substantiate the claims. This alone requires the

3        court to overrule the objection.

4               WHEREFORE, Relator, BARBARA BERNIER, respectfully requests that the

5        court enter an order OVERRULING the objections to the denial of the discovery stay

6        served by Defendants, INFILAW CORPORATION and CHARLOTTE SCHOOL OF
7        LAW, LLC, and for any such other further relief deemed appropriate.
8

9
         DATED on March 14, 2018
10                                                 Respectfully submitted,

11                                                 WATSON LLP
12
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22                                                  Attorneys for Relator,
                                                    BARBARA BERNIER
23

24

25



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                                    CERTIFICATE OF SERVICE

3                I HEREBY CERTIFY that on March 14, 2018, pursuant to Fed. R. Civ. P. 5, I
         electronically filed the foregoing with the Clerk of Court by using the CM/ECF system,
4        which will send an electronic notice to the following lead counsel of record in this
         proceeding:
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                                                     /s/ Coleman Watson
17                                                   Coleman W. Watson, Esq.

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